           Case: 22-15870, 08/28/2024, ID: 12904491, DktEntry: 43, Page 1 of 1




                      UNITED STATES COURT OF APPEALS                        FILED
                             FOR THE NINTH CIRCUIT                          AUG 28 2024
                                                                        MOLLY C. DWYER, CLERK
                                                                          U.S. COURT OF APPEALS
MICHAEL ZELENY,                                    No.   22-15870

                  Plaintiff-Appellant,             D.C. No. 3:17-cv-07357-RS
                                                   Northern District of California,
 v.                                                San Francisco

ROB BONTA, California Attorney General,            ORDER
in his official capacity,

                  Defendant-Appellee,

and

CITY OF MENLO PARK, a municipal
corporation; et al.,

                  Defendants.

Before: SCHROEDER, M. SMITH, and HURWITZ, Circuit Judges.

         The motion (Docket Entry No. 38) to vacate and remand is granted. The

district court’s May 2, 2022 judgment in favor of appellee Rob Bonta is vacated.

This case is remanded to the district court for proceedings consistent with New

York State Rifle & Pistol Ass’n v. Bruen, 597 U.S. 1 (2022).

         All pending motions are denied as moot.

         VACATED and REMANDED.




OSA113
